                                IN THE U.S. DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE

TRACTOR SUPPLY COMPANY,                           )
                                                  )
                   Plaintiff,                     )
                                                  )
v.                                                )      Case No. 3:21-cv-00619
                                                  )
ACE AMERICAN INSURANCE                            )      Judge William Campbell
COMPANY, UNIFIRST CORPORATION                     )      Magistrate Judge Holmes
and ESIS, INC.,                                   )
                                                  )
                   Defendants.                    )


              JOINT MOTION TO AMEND THE CASE MANAGEMENT ORDER

         Plaintiff Tractor Supply Company (“Tractor Supply”) and Defendants ACE American

Insurance Company (“ACE”), UniFirst Corporation (“UniFirst”), and ESIS, Inc. (“ESIS”) hereby

jointly move the Court to amend the Initial Case Management Order. (Docket Entry (“D.E.” 74).

I.       Factual Background

         Despite the parties’ diligent efforts to complete discovery before the July 29, 2022

deadline, the parties cannot reasonably complete all necessary discovery absent an extension.

Presently, Tractor Supply, UniFirst, and ESIS are engaged in a dispute regarding Tractor Supply’s

interrogatory responses—a dispute they are attempting to resolve before Defendants begin

deposing witnesses—as the resolution of the dispute is necessary prior to the commencement of

depositions. This dispute began in early March 2022 and has been the subject or correspondence

and resolution efforts since then. The parties met and conferred regarding the dispute in late May,

and jointly moved the court for a Case Management Conference to discuss potential avenues to

move the case forward. (See D.E. 112). The Court granted the Motion. (D.E. 113). On June 2,

2022, the Court held a telephonic Case Management Conference. At the Conference, the parties

notified the Court of the interrogatory dispute and their progress toward a resolution, but that they
4864-9330-9476.1
                                                 1

     Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 1 of 6 PageID #: 2517
may need to seek Court intervention if their progress stalls. The parties also informed the Court

that given the time remaining for discovery, the parties were unlikely to complete depositions

before the July 29, 2022 deadline.

         Following the Conference, the parties held a meet and confer, discussing potential solutions

to enable timely completion of discovery. Nevertheless, the parties agree that even if they are able

to resolve the interrogatory dispute without the Court’s intervention, they do not have sufficient

time to complete depositions before the present deadline. The parties further agree that resolving

the interrogatory dispute prior to deposing witnesses is necessary for many reasons including that

the parties need further time to pursue resolution of the interrogatory dispute or, barring such

resolution, time to present the dispute to the Court as well as time for production and review of

any information that Tractor Supply may be required to produce as part of a resolution or ruling

related to the interrogatory dispute.

         Once the dispute is resolved and any required information is produced, the parties

anticipate taking at least thirteen depositions. The parties, however, have only three shared

available dates between now and July 29, 2022 during which they could take depositions. In the

event an extension through only the end of September were granted, counsel share just thirteen

available dates for depositions, indicating that the parties may need to go into October to complete

depositions. Thus, for good cause appearing, the parties move the Court for a 90-day extension of

the deadline to complete discovery, which will extend discovery through October 27, 2022.

II.      Legal Standard

         Federal Rule of Civil Procedure 16(b)(4) permits modification of scheduling orders “for

good cause and with consent of the judge.” The Sixth Circuit prescribes two relevant

considerations for a determination of good cause. First, the movant must establish that the existing


4864-9330-9476.1
                                                  2

      Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 2 of 6 PageID #: 2518
scheduling order “cannot reasonably be met despite the diligence” of that party. Leary v.

Daeschner, 349 F.3d 888, 906 (6th Cir. 2003) (citation omitted). Second, the court must consider

“whether the opposing party will suffer prejudice by virtue of the amendment.” Id.

III.     Discussion

         There exists good cause to amend the scheduling order. The parties have diligently

engaged in written discovery including multiple document productions by all parties with such

productions running between early 2022 and late May. Given the complexity of this case, as it

involves sixty distinct underlying claims within the case, productive written discovery is essential

to narrow the issues that the parties will focus on in depositions and present to the Court at

summary judgment.

         The Defendants dispute the sufficiency of Tractor Supply’s interrogatory responses. The

parties have thus far worked collaboratively to resolve the dispute without aid of the Court and are

continuing in their efforts. They agree they must resolve the dispute before Defendants begin

deposing Tractor Supply’s witnesses.

         Even if the dispute were already resolved, however, the parties have had significant

challenges finding dates they are all available to conduct depositions. If an extension is not

granted, the parties would only have three days to conduct at least thirteen depositions (which may

involve many more than thirteen depositions if all or some of the claimants from the underlying

cases also need to be deposed). In fact, because only three days are available for depositions prior

to the July 29 deadline and there are at least thirteen depositions to be scheduled, Defendants have

not yet noticed depositions given the absence of available dates for such deposition notices

(although specific requested deponents have been named and deposition notices have been

prepared and are ready to be served once the dates are selected). To complete the anticipated


4864-9330-9476.1
                                                 3

   Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 3 of 6 PageID #: 2519
thirteen-plus depositions, the parties require the deadline to complete depositions be extended into

October. Thus, the existing deadline in the scheduling order cannot reasonably be completed

absent an extension.

         The parties agree that they will not suffer prejudice if an extension is granted. All parties

are in agreement to the need for the requested extensions. And the requested discovery extension

will not necessitate extending the dispositive motion deadline or trial date. Accordingly, the

parties have jointly filed a proposed amended scheduling order together with this Motion.

IV.      Conclusion

         For the foregoing reasons, the parties respectfully request that the Court amend the Initial

Case Management Order, (D.E. 74), to extend the discovery deadline and other relevant deadlines

by ninety (90) days.

                                               Respectfully submitted,


                                               /s/ Mark M. Bell
                                               Mark M. Bell (Tenn. BPR No. 029048)
                                               David J. Zeitlin (Tenn. BPR No. 037664)
                                               WALLER LANSDEN DORTCH & DAVIS LLP
                                               511 Union Street, Suite 2700
                                               Nashville, Tennessee 37219
                                               Phone: (615) 244-6380
                                               Email: mark.bell@wallerlaw.com
                                                      david.zeitlin@wallerlaw.com

                                               /s/ Andrew J. Pulliam
                                               Andrew J. Pulliam (Tenn. BPR No. 016863)
                                               apulliam@wyattfirm.com
                                               J. Graham Matherne (Tenn. BPR No. 011294)
                                               gmatherne@wyattfirm.com
                                               Wyatt, Tarrant & Combs, LLP
                                               333 Commerce Street, Suite 1050
                                               Nashville, Tennessee 37201
                                               (615) 244-0020 / Fax (615) 256-1726

                                               Attorneys for Defendant UniFirst Corporation
4864-9330-9476.1
                                                  4

   Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 4 of 6 PageID #: 2520
                                    /s/ Alissa Christopher
                                    Alissa Christopher (Pro Hac Vice) (Texas Bar No.
                                    11531020)
                                    akchristopher@cozen.com
                                    Cozen O'Connor
                                    1717 Main Street, Ste. 3100
                                    Dallas, TX 75201
                                    (214) 462-3036/ (214) 462-3299 (fax)

                                    E. Todd Presnell
                                    1600 Division Street, Ste. 700
                                    Nashville, Tennessee 37203

                                    Attorneys for Defendant ESIS, Inc.


                                    /s/ Alfred C. Warrington
                                    Alfred C. Warrington, V (Pro Hac Vice)
                                    Clyde & Co. US LLP
                                    1221 Brickell Avenue, Suite 1600
                                    Miami, FL 33131
                                    Alfred.warrington@clydoco.us

                                    William Bryan Jakes III
                                    Howell & Fisher, PLLC
                                    3310 West End Avenue, Suite 550
                                    Nashville, TN 37203
                                    bjakes@howell-fisher.com

                                    Attorneys for Defendant Ace American Insurance
                                    Company




4864-9330-9476.1
                                       5

   Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 5 of 6 PageID #: 2521
                                 CERTIFICATE OF SERVICE

     I hereby certify that a true and correct copy of the foregoing document was electronically filed
with the United States District Court for the Middle District of Tennessee using the Court’s
Electronic Case Filing (ECF) system, which will serve all parties indicated on the electronic filing
notice to receive service in this matter:

 J. Graham Matherne                                            E. Todd Presnell
 Andrew J. Pulliam                                             Bradley Arant Boult Cummings LLP
 Wyatt Tarrant & Combs LLP                                     1600 Division Street, Ste. 700
 333 Commerce Street, Ste. 1050                                Nashville, Tennessee 37203
 Nashville, TN 37201
                                                               Alissa Christopher
 Attorneys for Defendant UniFirst Corporation                  Cozen O’Connor
                                                               1717 Main Street, Ste. 3100
  Alfred C. Warrington, V                                      Dallas, TX 75201
  Clyde & Co. US LLP
  1221 Brickell Avenue, Suite 1600                             Attorneys for Defendant ESIS, Inc.
  Miami, FL 33131

  William Bryan Jakes III
  Howell & Fisher, PLLC
  3310 West End Avenue, Suite 550
  Nashville, TN 37203

  Attorneys for Defendant            ACE
  American Insurance Company

on this the 9th day of June, 2022.


                                                      /s/ Mark M. Bell




4864-9330-9476.1
                                                 6

   Case 3:21-cv-00619 Document 114 Filed 06/09/22 Page 6 of 6 PageID #: 2522
